Case: 1:14-cv-09042 Document #: 302-2 Filed: 02/10/18 Page 1 of 4 PageID #:6234




                      Exhibit 1
     Case: 1:14-cv-09042 Document #: 302-2 Filed: 02/10/18 Page 2 of 4 PageID #:6235




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022836
     Case: 1:14-cv-09042 Document #: 302-2 Filed: 02/10/18 Page 3 of 4 PageID #:6236




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022837
     Case: 1:14-cv-09042 Document #: 302-2 Filed: 02/10/18 Page 4 of 4 PageID #:6237




Confidential - Subject to Protective Order Entered in 14 C 9042    CITY-BG-022838
